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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                  Judge William J. Martínez

   Date:                 September 30, 2019
   Deputy Clerk:         Anna Frank
   Court Reporter:       Mary George


    Civil Action No. 16-cv-0629-WJM-STV                    Counsel:

    THE ESTATE OF JOHN PATRICK WALTER,                     Edwin Budge
                                                           Erik Heipt

           Plaintiff,

    v.

    THE BOARD OF COUNTY COMMISSIONERS OF                   William O’Connell, III
    THE COUNTY OF FREMONT,                                 Katherine Pratt
    ALLEN COOPER, in his official capacity as
    Fremont County Sherriff, and
    JAMES BEICKER,

           Defendants.


                                   COURTROOM MINUTES


   Jury Trial, Day 1

   8:33 a.m.      Court in session.

   Appearances of Counsel.

   Also seated at Plaintiff’s table is Ms. Desiree Klodnicki. Also seated at Defendant’s table
   is Ms. Brenda Jackson and Defendant Mr. James Beicker.

   Jury panel not present.

   Opening remarks by the Court.

   ORDERED: Plaintiff’s oral motion for Rule 615 sequestration is granted, all witnesses
            are sequestered and excluded from the courtroom.
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   Discussion held regarding Defendant’s witness Mr. Justin Green.

   8:58 a.m.     Court in recess.
   9:06 am.      Court in session.

   Jury panel is present.

   Jury Selection

   Court’s remarks to prospective jurors.

   Voir dire of prospective jurors by the Court.

   10:32 a.m.    Court in recess.
   10:49 a.m.    Court in session. Jury panel is present.

   Voir dire of prospective jurors by Mr. Budge for the Plaintiff.

   Voir dire of prospective jurors by Mr. O’Connell for the Defendants.

   Challenges for cause:
     1. 100404263
     2. 100413964
     3. 100391835
     4. 100379583
     5. 100391948

   The parties exercise their peremptory challenges.

   Plaintiff’s challenges:
      1. 100417057
      2. 100410362
      3. 100418402

   Defendant’s challenges:
      1. 100404040
      2. 100389703
      3. 100381891

   Jurors sworn to try case:
      1. 100405622
      2. 100416103
      3. 100376841
      4. 100379211
      5. 100393036
      6. 100391475
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      7. 100393536
      8. 100420704

   8 jurors seated and sworn.

   The Court reviews the Code of Conduct with the members of the jury.

   11:58 a.m.    Court in recess.
   1:20 p.m.     Court in session. Jury present.

   1:21 p.m.     Opening statement by Mr. Budge on behalf of the Plaintiff.

   1:45 p.m.     Opening statement by Ms. Pratt on behalf of the Defendants.

   2:10 p.m.     Plaintiff’s witness Ms. Laura McMahon is called and sworn.

   Direct examination of Ms. McMahon by Mr. Heipt.

   Plaintiff’s Exhibits 75, 71, 72 and 67 are admitted into evidence.

   Cross-examination of Ms. McMahon by Ms. Pratt.

   Redirect examination of Ms. McMahon by Mr. Heipt.

   Ms. McMahon is excused.

   2:49 p.m.     Plaintiff’s witness Mr. James Wheaton is called and sworn.

   Direct examination of Mr. Wheaton by Mr. Budge.

   3:04 p.m.     Court in recess.
   3:24 p.m.     Court in session. Jury present.

   Continued direct examination of Mr. Wheaton by Mr. Budge.

   Plaintiff’s Exhibit 101, 95, 96, 97, 98, 99, 100, 82, 77, 84, and 104 are admitted into
   evidence.

   Cross-examination of Mr. Wheaton by Ms. Pratt.

   Redirect examination of Mr. Wheaton by Mr. Budge.

   Mr. Wheaton is excused.

   4:51 p.m.     Jury in recess.
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   4:52 p.m.    Court in recess. Jury excused until October 1, 2019 at 8:35 a.m.

   Total time in court: 6:12
